Case 2:18-cv-03038-FMO-FFM Document 27 Filed 05/24/18 Page 1 of 16 Page ID #:440


   1   Jeffrey M. Goldman (SBN 233840)
         E-mail: goldmanj@pepperlaw.com
   2
       PEPPER HAMILTON LLP
   3   4 Park Plaza, Ste. 1200
   4   Irvine, CA 92614
       Telephone: (949) 567-3547
   5   Facsimile: (866) 728-3537
   6   Attorneys for GEOFFREY FRIEDMAN, JAY
       KENNEL, YVETTE MORGAN,
   7   TIM OSBORNE, and WILLIAM WETMORE
   8
   9
  10                       UNITED STATES DISTRICT COURT

  11        CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

  12
       GEOFFREY FRIEDMAN, JAY               Case No. 5:18-cv-3038-FMO-FFM
  13   KENNEL, YVETTE MORGAN,
  14   TIM OSBORNE and WILLIAM              JOINT SCHEDULING
       WETMORE,                             CONFERENCE REPORT
  15                                        PURSUANT TO RULE 26(F)
                      Plaintiffs,
  16
                                            Hearing date:   June 7, 2018
  17         v.
                                            Time:           10:00 a.m.
  18                                        Place:          6D
       GLOBAL PAYMENTS, INC., and
  19   HEARTLAND PAYMENT                    Hon. Fernando M. Olguin
  20   SYSTEMS, LLC,
                                            First Amended Complaint Filed:
  21                  Defendants.                           May 7, 2018
  22
  23
  24
  25
  26
  27
  28

              JOINT SCHEDULING CONFERENCE REPORT PURSUANT TO RULE 26(F)
Case 2:18-cv-03038-FMO-FFM Document 27 Filed 05/24/18 Page 2 of 16 Page ID #:441
   1         Pursuant to this Court’s Order, the Local Rules for the United States District
   2   Court for the Central District of California, and Federal Rule of Civil Procedure 26,
   3   counsel for all parties conferred in good faith to agree on a conference report and
   4   discuss the issues required by Rule 26(f) on May 17, 2018.
   5         Plaintiffs GEOFFREY FRIEDMAN, JAY KENNEL, YVETTE MORGAN,
   6   TIM OSBORNE and WILLIAM WETMORE (“Plaintiffs”) were represented by
   7   their attorney of record, Jeffrey M. Goldman of Pepper Hamilton LLP, who
   8   appeared in person.
   9         Defendants GLOBAL PAYMENTS, INC., and HEARTLAND PAYMENT
  10   SYSTEMS, LLC (collectively, “Defendants” or “Heartland”) were represented by
  11   their attorney of record, Kristapor Vartanian of Kabat Chapman & Ozmer LLP,
  12   who appeared in person, as well as Steven J. Rosenwasser of Bondurant Mixson &
  13   Elmore LLP, who appeared by phone.
  14         The following was discussed and, as the case may be, agreed to:
  15         A.     Statement of the Case:
  16         1.     By Plaintiffs:
  17         Plaintiffs were employed by Heartland Payment Systems, Inc., an electronic
  18   payment processing company. In April 2016, Heartland Payment Systems, Inc.
  19   was acquired by via a merger with Global Payments, Inc. another electronic
  20   payment processing company and, out of that merger, Global created a wholly
  21   owned subsidiary Heartland Payment Systems, LLC. In connection with their
  22   employment, Plaintiffs entered into employment agreements with Heartland
  23   Payment Systems, Inc. and, at certain points thereafter, Partial Purchase
  24   Commission Agreements (“PCPAs”). After the merger, Plaintiffs’ employment
  25   continued with Heartland under the terms of the employment agreements and new
  26   PCPAs with Heartland. The employment agreements and PCPAs incorporated by
  27   reference Heartland’s sales policies that set forth the manner in which the Plaintiffs
  28   were paid. Heartland’s PCPAs were not all voluntary. Rather, the majority of


                                                1
              JOINT SCHEDULING CONFERENCE REPORT PURSUANT TO RULE 26(F)
Case 2:18-cv-03038-FMO-FFM Document 27 Filed 05/24/18 Page 3 of 16 Page ID #:442
   1   Heartland’s PCPAs were “forced buyouts” where Heartland forced its employees to
   2   sell back a portion of their portfolios in order to reduce their account receivables.
   3         The Plaintiffs did not receive a salary at Heartland. Rather, they were 100%
   4   commissioned sales employees that were paid “residual commissions” once per
   5   month. The residual commission were calculated based upon the amount of
   6   “margin” or revenues that each merchant in the Plaintiffs’ merchant portfolios paid
   7   to Heartland for processing payments as more fully set forth and explained in
   8   various Heartland sales policies. Pursuant to the employment agreements and
   9   Heartland’s sales policies, Plaintiffs were entitled to continue to receive residual
  10   commissions, even after their employment ended, provided that the merchants they
  11   signed for Heartland continued to use Heartland’s services. Indeed, a feature of
  12   Heartland employment that it touts in an effort to induce sales employees to joint
  13   Heartland is the “vested” nature of the residual commissions in that sales
  14   employees are promised a “lifetime” stream of residual commissions. In addition to
  15   the manner in which Plaintiffs were to be paid residual commissions, the
  16   employment agreements and PCPAs included post-employment restrictive
  17   covenants.
  18         This primary issues in this case involve (1) whether Heartland has been
  19   properly paying Plaintiffs their “lifetime” residual commissions after they resigned
  20   from Heartland; and (2) whether the post-employment restrictive covenants are
  21   enforceable. Plaintiffs allege that since they left Heartland and joined a competitor,
  22   Above and Beyond Business Tools and Services for Entrepreneurs, Inc.
  23   (“Beyond”), their residual commissions have dramatically and inexplicably
  24   decreased. Unlike when they were employed by Heartland, they no longer have
  25   access to information necessary to determine whether their residual commissions
  26   are being properly calculated or, as suspected, Plaintiffs’ commissions are being
  27   improperly reduced in violation of their agreements and company policies in order
  28   to penalize them for leaving Heartland and joining a competitor. Plaintiffs have
       requested complete information from Heartland in this regard, but it has refused on
                                             2
              JOINT SCHEDULING CONFERENCE REPORT PURSUANT TO RULE 26(F)
Case 2:18-cv-03038-FMO-FFM Document 27 Filed 05/24/18 Page 4 of 16 Page ID #:443
   1   the grounds that it will not give its former employees access to “confidential
   2   information” including information that its merchants deem confidential. In this
   3   regard, Heartland’s definition of what is confidential is overly broad and covers
   4   almost everything relating Heartland’s business and merchants, including
   5   information that Heartland files publicly and discloses in SEC filings and
   6   information that its merchants are not required to keep confidential. In addition, the
   7   Plaintiffs’ post-employment restrictive covenants, including a prohibition on
   8   soliciting Heartland merchants, are unenforceable as a matter of California law.
   9         2.     By Defendant:
  10         Plaintiffs are former employees of Heartland Payment Systems, LLC
  11   (“HPS”) who now work for HPS’ competitor, Beyond. Although Plaintiffs have no
  12   evidence that HPS has underpaid them (it has not), Plaintiffs seek an accounting
  13   purportedly to determine whether HPS has properly calculated and paid their
  14   residual commissions. Notably, the information Plaintiffs seek is highly
  15   confidential information regarding HPS and its customers, including, but not
  16   limited to, information regarding HPS’ revenues, costs and profits and the amount
  17   of credit card processing engaged in by HPS’ customers (who do not anticipate or
  18   desire HPS to share their confidential financial information with former HPS
  19   employees). Plaintiffs also seek a declaration that the restrictive covenants they
  20   contractually agreed to are invalid.
  21         Plaintiffs’ claims are all governed by valid and enforceable forum selection
  22   clauses contained within their employment agreements, which require Plaintiffs to
  23   bring their claims in New Jersey. HPS has filed a Motion to Dismiss or Transfer to
  24   enforce those clauses, with a scheduled hearing date of June 21, 2018.
  25         It is worth noting that Plaintiffs’ claims above regarding their PCPAs are
  26   false. PCPAs are not entered into as a condition of employment. Rather, PCPAs
  27   are entirely voluntary documents that are entered into only when an employee
  28   requests a “buy out.” Plaintiffs statement that “the majority of the PCPAs were
       ‘forced buyouts’ where Heartland forced its employees to sell back a portion of
                                              3
              JOINT SCHEDULING CONFERENCE REPORT PURSUANT TO RULE 26(F)
Case 2:18-cv-03038-FMO-FFM Document 27 Filed 05/24/18 Page 5 of 16 Page ID #:444
   1   their portfolios in order to reduce their account receivables” is false. While HPS
   2   has engaged in “forced buybacks,” as Plaintiffs are well aware, HPS does not
   3   require a PCPA to be signed in that instance. And, regardless, HPS does not
   4   require the PCPA to be signed in order to remain employed (as opposed to
   5   conducting a buyout). If Plaintiffs persist with that claim, which has no factual
   6   support, HPS intends to seek Rule 11 and other appropriate sanctions.
   7         Finally, HPS denies that it refused to provide Plaintiffs with the information
   8   they are seeking in this case. HPS has repeatedly offered Plaintiffs information
   9   sufficient to determine that they were properly paid commissions so long as certain
  10   processes are in place to ensure that the information is kept confidential and not
  11   used by Plaintiffs who now work for HPS’ competitor; e.g., the data will be
  12   provided with an “attorneys’ eyes only” designation to Plaintiffs’ counsel or their
  13   independent accountants. Plaintiffs refuse to respond to HPS’ offer.
  14
  15         B.     Subject Matter
  16         Defendants removed this action to this Court, and the parties agree that
  17   federal jurisdiction exists in this matter over all causes of action because the
  18   Plaintiffs, on the one hand, and Defendants, on the other hand, hold completely
  19   diverse citizenship and the amount in controversy exceeds $75,000. See 28 U.S.C.
  20   § 1332. However, while Defendants do not contest federal court jurisdiction, they
  21   do contest jurisdiction in California. Pursuant to valid forum selection clauses in
  22   Plaintiffs’ contracts, this matter should have been brought in New Jersey.
  23
  24
  25
  26
  27
  28

                                                 4
              JOINT SCHEDULING CONFERENCE REPORT PURSUANT TO RULE 26(F)
Case 2:18-cv-03038-FMO-FFM Document 27 Filed 05/24/18 Page 6 of 16 Page ID #:445
   1         C.     Legal Issues:
   2         1.     By Plaintiffs:
   3                (a) Are Defendants liable for unpaid wages in the form of residual
   4   commissions to Plaintiffs – both retroactively and prospectively – as well as related
   5   penalties? If so, how much is due to Plaintiffs?
   6                (b) Are Defendants liable for paystub violations, as well as related
   7   penalties? If so, how much is due to Plaintiffs?
   8                (c) Are Plaintiffs entitled to an accounting – both retroactively and
   9   prospectively – with respect to information concerning Defendants’ calculation and
  10   payment of Plaintiffs’ vested monthly residual commissions?
  11                (d) Are Plaintiffs bound by restrictive covenants with Defendants?
  12                (e) Under California Labor Code section 925, must this dispute be
  13   adjudicated in California?
  14
  15         2.     By Defendant:
  16                (a) Are Plaintiffs bound by the forum selection clauses in their
  17   employment contracts?
  18                (b) Can Plaintiffs identify any contract or law that permits them access
  19   to their former employer’s (and former employer’s customers) highly confidential
  20   information in order to purportedly confirm that they were properly paid
  21   commissions, particularly when they have no proof of underpayment?
  22                (c) Are Plaintiffs entitled to an accounting?
  23                (d) Does California or New Jersey law apply to Plaintiffs’ claims?
  24                (e) Are Plaintiffs’ restrictive covenants enforceable?
  25                (f) Have Plaintiffs fully complied with their employment agreements
  26   such that they have standing to bring and meet the elements to bring their claims?
  27                (g) Is Global a proper party to this suit and has it engaged in any
  28   alleged wrongdoing?


                                                5
              JOINT SCHEDULING CONFERENCE REPORT PURSUANT TO RULE 26(F)
Case 2:18-cv-03038-FMO-FFM Document 27 Filed 05/24/18 Page 7 of 16 Page ID #:446
   1         C.      Parties, Evidence, etc . . . :
   2         1.      By Plaintiffs:
   3         Plaintiffs identify the following parties, percipient witnesses, and key
   4   documents on the main issues in this case:
   5         Parties
   6         Plaintiffs are Geoffrey Friedman, Jay Kennel, Yvette Morgan, Tim Osborne,
   7   and William Wetmore.
   8         Defendants are Global Payments, Inc. and Heartland Payment Systems, LLC.
   9         Percipient Witnesses
  10         Percipient witnesses in this action include:
  11              • Plaintiffs and Defendants;
  12              • Agents of Heartland in the sales compensation department;
  13              • Agents of Heartland involved in the establishment, amendment and
  14                 enforcement of employment agreements, PCPAs and sales policies;
  15              • Agents of Heartland who have taken over accounts previously handled
  16                 by any of the Plaintiffs;
  17              • Agents of Heartland who reported to Plaintiffs;
  18              • Agents of Heartland to whom Plaintiffs reported;
  19              • Agents of Heartland to whom Plaintiffs have complained about
  20                 reductions in compensation;
  21              • Vincent Lombardo;
  22              • Anthony Giardino; and
  23              • Joan Juskiw.
  24         Plaintiffs reserve their right to supplement or amend this list as appropriate.
  25         Key Documents
  26              • Employment agreements executed by Plaintiffs;
  27              • Partial Commission Purchase Agreements executed by Plaintiffs;
  28              • Heartland’s sales policies (original and revised);


                                                  6
              JOINT SCHEDULING CONFERENCE REPORT PURSUANT TO RULE 26(F)
Case 2:18-cv-03038-FMO-FFM Document 27 Filed 05/24/18 Page 8 of 16 Page ID #:447
   1              • Heartland’s Sales and Compensation Manual or other written, related
   2                 instructions;
   3              • Heartland’s payroll records that pertain to Plaintiffs;
   4              • Heartland’s attrition reports;
   5              • Heartland’s true-up detail reports;
   6              • Heartland’s A.R. tracking reports;
   7              • Documents identifying those merchants who used to be serviced by
   8                 Plaintiffs while at Heartland, who were reassigned to other employees
   9                 of Heartland;
  10              • Documents sufficient to calculate margins and residuals vis-à-vis
  11                 merchants who used to be serviced by Plaintiffs while at Heartland;
  12              • All communications concerning the reassignment of accounts that used
  13                 to be serviced by Plaintiffs while at Heartland; and
  14              • Communications regarding approved exceptions to Heartland’s
  15                 payment policies.
  16   Plaintiffs reserve their right to supplement or amend this list as appropriate.
  17         2.      By Defendants:
  18         Defendants identify the following parties, percipient witnesses, and key
  19   documents on the main issues in this case:
  20         Parties
  21         Plaintiffs are Geoffrey Friedman, Jay Kennel, Yvette Morgan, Tim Osborne,
  22   and William Wetmore.
  23         Defendants are Global Payments Inc. and Heartland Payment Systems, LLC.
  24         Percipient Witnesses
  25         Percipient witnesses in this action include:
  26              • Plaintiffs and Defendants;
  27              • Corporate representatives knowledgeable of the calculation and
  28                 payment of Plaintiffs’ residuals;


                                                 7
              JOINT SCHEDULING CONFERENCE REPORT PURSUANT TO RULE 26(F)
Case 2:18-cv-03038-FMO-FFM Document 27 Filed 05/24/18 Page 9 of 16 Page ID #:448
   1              • Persons with knowledge of Plaintiffs’ compliance or lack of
   2                   compliance with their employment agreements;
   3              • Persons with whom Plaintiffs have discussed their purported claims,
   4                   including persons employed by Beyond;
   5              • Merchants Plaintiffs solicited or managed located in, or providing
   6                   goods or services in, locations outside of California.
   7   Defendants reserve their right to supplement or amend this list as appropriate.
   8         Key Documents
   9              • Employment agreements executed by Plaintiffs;
  10              • Documents relating to or discussing Plaintiffs’ compliance or lack of
  11                   compliance with their employment agreements;
  12              • Documents relating to Plaintiffs’ solicitation of or work with
  13                   merchants located outside of California;
  14              • Data relating to Plaintiffs’ residual commissions.
  15   Defendants reserve their right to supplement or amend this list as appropriate
  16
  17         E.        Insurance:
  18         There is no insurance involved in this case.
  19
  20         F.        Magistrate Judge:
  21         The parties do not consent to a magistrate judge presiding over this action for
  22   all purposes.
  23
  24         G.        Discovery
  25         1.        By Plaintiffs:
  26         Initial disclosures will be made within by June 11, 2018.
  27         Plaintiffs anticipate engaging in full written and deposition discovery. In
  28   particular, Plaintiffs anticipate propounding document requests, interrogatories, and
       requests for admission with respect to Plaintiffs’ claims, as well as to any
                                                8
              JOINT SCHEDULING CONFERENCE REPORT PURSUANT TO RULE 26(F)
Case 2:18-cv-03038-FMO-FFM Document 27 Filed 05/24/18 Page 10 of 16 Page ID #:449
    1   counterclaims or affirmative defenses that may be raised. Likewise, Plaintiffs
    2   anticipate deposing Mr. Lombardo; Mr. Giardino; Ms. Juskiw; any identified
    3   employees of Defendant Heartland Payment Systems, LLC who may hold relevant
    4   percipient knowledge regarding Plaintiff’s claims; and Defendant Heartland
    5   Payment Systems, LLC’s Rule 30(b)(6) designee.
    6         Plaintiffs reserve the right to present expert testimony.
    7         To the extent further investigation reveals the need for additional discovery,
    8   Defendants reserve their rights to pursue that discovery.
    9         The parties have discussed and anticipate that a protective order may be
   10   required in connection with disclosure or discovery in this case. Plaintiffs agree to
   11   utilize the form of protective order available on the website of the Magistrate Judge
   12   assigned to this action, Judge Frederick Mumm (http://www.cacd.uscourts.gov/
   13   honorable-frederick-f-mumm).
   14         Plaintiffs propose the following discovery schedule:
   15              • Fact Discovery Cut-off: December 31, 2018 (last day for any fact
   16                 discovery responses to be served, fact discovery motions to be heard,
   17                 and any percipient witness depositions to be concluded);
   18              • Expert Witness Disclosures (Initial): January 30, 2019;
   19              • Expert Witness Disclosures (Rebuttal): March 1, 2019;
   20              • Expert Discovery Cut-Off (last day for any expert depositions to take
   21                 place): March 21, 2019.
   22         2.      By Defendants: Defendants’ position is that it is premature to establish
   23   a discovery plan or agree to discovery deadlines, given their pending motion to
   24   dismiss or transfer venue (against the first amended complaint), which is scheduled
   25   for hearing on June 21, 2018. Defendants believe it is inefficient to agree on a
   26   schedule now, before the threshold question of where this action will be litigated is
   27   resolved. Defendants kindly request that the Court continue the Scheduling
   28   Conference to June 21, 2018, to be held after Defendants’ motion hearing. In the


                                                  9
               JOINT SCHEDULING CONFERENCE REPORT PURSUANT TO RULE 26(F)
Case 2:18-cv-03038-FMO-FFM Document 27 Filed 05/24/18 Page 11 of 16 Page ID #:450
    1   event that the Court disagrees and elects to proceed with discovery scheduling now,
    2   Defendants propose the following:
    3              • Fact Discovery Cut-off: February 28, 2019 (last day for any fact
    4                 discovery responses to be served, fact discovery motions to be heard,
    5                 and any percipient witness depositions to be concluded);
    6              • Expert Witness Disclosures (Initial): March 8, 2019;
    7              • Expert Witness Disclosures (Rebuttal): April 5, 2019;
    8              • Expert Discovery Cut-Off (last day for any expert depositions to take
    9                 place): April 26, 2019
   10
   11         H.      Motions:
   12         1.      By Plaintiffs:
   13         Plaintiffs reserve the right to file any Motions for Partial or Total Summary
   14   Judgment; Motions to Amend to account for former employees of Heartland who
   15   are discovered and wish to join this litigation; and any other appropriate motions,
   16   including discovery motions, Daubert motions, and motions in limine.
   17         2.      By Defendants:
   18         Concurrently with the filing of this Joint Report, Defendants will be filing
   19   their motion to dismiss or, in the alternative, transfer venue to New Jersey based on
   20   forum selection provisions, with the motion hearing to be scheduled for June 21,
   21   2018. Defendants may also file discovery motions, Daubert motions, motions in
   22   limine and dispositive motions.
   23
   24         I.      Class Certification:
   25         Not applicable.
   26
   27
   28

                                                 10
               JOINT SCHEDULING CONFERENCE REPORT PURSUANT TO RULE 26(F)
Case 2:18-cv-03038-FMO-FFM Document 27 Filed 05/24/18 Page 12 of 16 Page ID #:451
    1         J.     Dispositive motions:
    2         1.     By Plaintiffs:
    3         Plaintiffs proposed a dispositive motion cut-off date (i.e., the last date for a
    4   dispositive motion to be heard) of April 22, 2019.
    5         2.     By Defendants:
    6         Defendants propose a dispositive motion cut-off date (i.e., the last date for a
    7   dispositive motion to be heard) of May 31, 2019.
    8
    9         K.     Settlement/Alternative Dispute Resolution:
   10         1.     By Plaintiffs:
   11         The parties, through counsel, have discussed the possibility of Heartland
   12   providing documentation in the form of commission reports pertaining to accounts
   13   that Plaintiffs previously serviced, albeit with the redaction of merchant names
   14   (with such merchant identities being made available to counsel on an Attorneys’
   15   Eyes Only basis). Defendants have not agreed to provide such reports on a rolling
   16   basis going forward, but have agreed to produce on an “as needed” basis. This
   17   information is not sufficient for Plaintiffs’ to accurately evaluate their commission
   18   payments. For example, similar data has been produced by Heartland with respect
   19   to other former employees, and the data contained errors. Also, while the
   20   information in the reports may enable Plaintiffs’ to calculate commissions, those
   21   calculations are limited in that they are based upon the sales data (i.e. merchants’
   22   gross margin paid to Heartland) without any meaningful way for Plaintiffs to test
   23   that data. That data does not address the issue of how or why accounts statuses
   24   may or may not have changed, nor the conduct of Defendants related
   25   thereto. Moreover, Plaintiffs should not have to retain and pay counsel or
   26   accounting experts to analyze information regarding the calculations of their
   27   commissions. Simply stated, Plaintiffs need access to the same information they
   28   had prior to separating from Heartland which, since Heartland promised that they
        own or have an equity interest in their merchant portfolio, is a reasonable request
                                                 11
               JOINT SCHEDULING CONFERENCE REPORT PURSUANT TO RULE 26(F)
Case 2:18-cv-03038-FMO-FFM Document 27 Filed 05/24/18 Page 13 of 16 Page ID #:452
    1         No monetary settlement talks have occurred.
    2         Plaintiffs do not request a settlement conference with the assigned magistrate
    3   judge, but are amenable to private mediation.
    4          2.    By Defendants:
    5         Defendants have offered Plaintiffs the very information they claim they need
    6   (it would be in the same form as produced in other similar cases pending in New
    7   Jersey; i.e., Volrath and Bradfield). Any claim by Plaintiffs that the data was
    8   incorrect is false (indeed, Defendants hereby request that Plaintiffs identify any
    9   factual support they have for that claim). Moreover, Defendants should not be
   10   required to pay for an accounting that is unnecessary and which is not based on any
   11   factual evidence that Defendants underpaid any Plaintiff. Defendants are not
   12   required to pay for an accounting based on Plaintiffs utter (and incorrect)
   13   speculation. Defendants’ only conditions are (1) the case is stayed for 120 days so
   14   Defendants can gather and produce the information, Plaintiffs can review the
   15   information, and the parties can meet and confer regarding any concerns about the
   16   information; and (2) portions of the data that would allow Plaintiffs to identify
   17   specific merchants would be produced as “attorneys’ eyes only.” That is, Plaintiffs’
   18   counsel and their independent accountants can review all of the data, while
   19   Plaintiffs themselves would get all of the data except those parts identifying
   20   merchants since it is highly confidential to HPS and its customers. Plaintiffs have
   21   refused this offer.
   22         Defendants do not request a settlement conference with the assigned
   23   magistrate judge and are not amenable to private mediation. Defendants are
   24   amenable to the Court Mediation Panel.
   25
   26
   27
   28

                                                 12
                JOINT SCHEDULING CONFERENCE REPORT PURSUANT TO RULE 26(F)
Case 2:18-cv-03038-FMO-FFM Document 27 Filed 05/24/18 Page 14 of 16 Page ID #:453
    1         L.     Pretrial Conference and Trial:
    2                1. By Plaintiffs:
    3         Plaintiff proposes that the pre-trial conference take place on May 6, 2019,
    4   and that the trial take place on May 20, 2019. Plaintiffs have asserted claims for
    5   unpaid wages and paystub violations, all of which are properly tried by a jury.
    6                2. By Defendant:
    7         Given the nature of Plaintiffs’ claims, there is no trial. A claim for
    8   accounting is not a triable claim. To the extent a trial occurs, it should be a bench
    9   trial given the nature of Plaintiffs’ claims and the jury trial waiver in Plaintiffs’
   10   employment agreements. Further, if there is a trial, Defendants propose a pre-trial
   11   conference take place on June 14, 2019 and the trial take place on June 24, 2019.
   12
   13         M.     Trial Estimate:
   14                1.     By Plaintiffs:
   15           Plaintiffs have demanded a jury trial, and contemplate calling at least six (6)
   16   witnesses (all Plaintiffs plus one expert). Plaintiffs also reserve the right to call: (i)
   17   representatives of Defendants to the extent not called by Defendants themselves;
   18   and (ii) merchants on whose accounts Plaintiffs claims are based. Plaintiffs
   19   contemplate trial lasting 7 to 10 days, including voir dire, opening statement, and
   20   closing argument.
   21                2.     By Defendants:
   22         See above.
   23         N.     Trial Counsel:
   24                1.     By Plaintiffs:
   25         Jeffrey M. Goldman of Pepper Hamilton LLP will represent Plaintiffs at trial.
   26   Also, Plaintiffs anticipate submitting an application to appear pro hac vice on
   27   behalf of Jeffrey Carr, also of Pepper Hamilton LLP, to serve as co-trial counsel.
   28

                                                   13
                JOINT SCHEDULING CONFERENCE REPORT PURSUANT TO RULE 26(F)
Case 2:18-cv-03038-FMO-FFM Document 27 Filed 05/24/18 Page 15 of 16 Page ID #:454
    1                2.     By Defendants:
    2         See above. Plaintiffs have not asserted any triable claims. If a trial occurs,
    3   Defendants will determine at that time who will be trial counsel, but anticipate
    4   some or all counsel of record will represent Defendants at trial.
    5
    6         O.     Independent Expert or Master:
    7                1.     By Plaintiffs:
    8         Plaintiffs do not believe an independent expert or master should be
    9   considered. To the extent Defendants seek the appointment of an independent
   10   master, as opposed to retaining their own expert, Defendants should bear the cost of
   11   that expert under Federal Rule of Civil Procedure 53. Otherwise, information
   12   should be exchanged in the ordinary course of discovery in this action, subject to
   13   any order governing the confidentiality of documents to which the parties may
   14   stipulate, which alleviates any third party confidentiality concerns.
   15                2.     By Defendants:
   16         Defendants intend on asking the Court to appoint a C.P.A. as an independent
   17   expert or master. Defendants believe that if Plaintiffs want an accounting, they can
   18   produce the data to the independent master, who can review the data while
   19   preserving the confidential nature of the data and protecting it from disclosure to
   20   Plaintiffs (who work for HPS’ competitor). Moreover, HPS’ customers do not
   21   expect or anticipate their confidential financial information to be produced to HPS’
   22   former employees.
   23
   24         P.     Other Issues:
   25         As noted above, Defendants will be filing a motion to dismiss or, in the
   26   alternative, transfer venue by May 24, 2018, with a scheduled hearing date of June
   27   21, 2018.
   28

                                                 14
               JOINT SCHEDULING CONFERENCE REPORT PURSUANT TO RULE 26(F)
Case 2:18-cv-03038-FMO-FFM Document 27 Filed 05/24/18 Page 16 of 16 Page ID #:455
    1                          C.D. Cal. Civ. L.R. 5-4.3.4 Attestation
    2         Pursuant to Civil Local Rule 5-4.3.4(a)(2)(i), the e-filer of this document
    3   attests that all other signatories listed, and on whose behalf the filing is submitted,
    4   concur in the filing’s content and have authorized the filing.
    5
    6   Dated: May 24, 2018                   Respectfully submitted,
    7                                         PEPPER HAMILTON LLP
    8                                         By: /s/ Jeffrey M. Goldman
    9                                           Jeffrey M. Goldman
                                                Attorney for Plaintiffs
   10
   11
   12                                         Respectfully submitted,
        Dated: May 24, 2018
   13                                         KABAT CHAPMAN & OZMAN LLP
   14                                         By: /s/ Kristapor Vartanian
   15                                           Kristapor Vartanian
                                                Attorney for Defendants
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28

                                                  15
               JOINT SCHEDULING CONFERENCE REPORT PURSUANT TO RULE 26(F)
